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Attorney for Debtors

                       UNITED STATES BANKRUPTCY COURT

                                  DISTRICT OF IDAHO

  In re:                                             Case No. 22-00024-NGH

  CHRISTOPHER LEE ATKINSON and                       Chapter 7
  KAREN HELEN ATKINSON,
                                                     NOTICE OF CHANGE OF
                       Debtor.                       ADDRESS

      COMES NOW, Debtor, Karen Helen Atkinson, and hereby gives notice of a change of

her MAILING address:


       FROM:                                   TO:

       PO Box 140072                           615 Antelope Way
       Garden City, ID 83714                   Caldwell, ID 83607


      DATED this 21st day of April 2022.
                                           FOLEY FREEMAN, PLLC

                                           /s/Matthew G. Bennett
                                           Matthew G. Bennett
                                           Attorney for Debtors




NOTICE OF CHANGE OF ADDRESS - 1
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 21st day of April 2022, I caused to be served a true and
correct copy of the foregoing document by the method indicated below, and addressed to the
following:

      Office of the U.S. Trustee                    X     CM/ECF Notice

      Timothy R. Kurtz                              X     CM/ECF Notice

      Matthew Todd Christensen                      X     CM/ECF Notice

      Sheila Rae Schwager                           X     CM/ECF Notice

      Ally Bank c/o AIS Portfolio Services, LP      X     U.S. Mail
      4515 N. Santa Fe Ave., Dept, APS
      Oklahoma City, OK 73118


                                                  /s/ Matthew G. Bennett
                                                  Matthew G. Bennett




NOTICE OF CHANGE OF ADDRESS - 2
